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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)


    UNITED STATES OF AMERICA


        v.                                                      Crim. No. RDB-19-0600

    JOSEPH EDWARD LIBERTO,

                     Defendant.


                  RULE 29 MOTION FOR JUDGMENT OF ACQUITTAL

        Defendant, Joseph Liberto, by his undersigned counsel and pursuant to Federal Rule of

Criminal Procedure 29, moves for a judgment of acquittal on all counts of the Amended

Superseding Indictment, ECF No. 65.1

                                      LEGAL STANDARD

        “The test for deciding a motion for a judgment of acquittal is whether there is substantial

evidence . . . which, taken in the light most favorable to the prosecution, would warrant a jury

finding that the defendant was guilty beyond a reasonable doubt.” United States v. MacCloskey,

682 F.2d 468, 473 (4th Cir. 1982). In other words, the district court must “view the evidence in

the light most favorable to the prosecution, and inquire whether a rational trier of fact could [find]

the essential elements of the charged offense beyond a reasonable doubt.” United States v. Singh,

518 F.3d 236, 246 (4th Cir. 2008). “While all inferences must be made in favor of the prosecution,

leaps of logic should not be.” Evans-Smith v. Taylor, 19 F.3d 899, 908 n.22 (4th Cir. 1994). “Where



1
 The primary grounds for the motion are set forth in this written motion, drafted before the
government concluded its case. Mr. Liberto reserves the right to supplement the motion. The
motion is address to all counts, but as the Court requested, it focuses on specific counts regarding
which there are grounds for relief aside from those applicable to all counts.
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. . . the trier of fact would have . . . to rely on attenuated inferences [to make a finding] . . . the

finding . . . cannot stand.” United States v. Hickman, 626 F.3d 756, 763 (4th Cir. 2010).

       Even taking the evidence in the government’s favor, it has failed to prove Counts 2-9, 11-

12, 14-18, 21, and 23-32 of the Amended Superseding Indictment. In oral argument in support of

this motion, without waiving Mr. Liberto’s motion for acquittal on each and every element of

Counts 2-9, 11-12, 14-18, 21, and 23-32, the defense will draw the Court’s attention to certain

specific deficiencies in the government’s proof.2

    A. THE EVIDENCE IS INSUFFICIENT TO SUSTAIN A CONVICTION ON THE
       COUNTS INVOICED AS FIRM FIXED PRICE.

       Mr. Liberto move for a judgement of acquittal on all counts in the Amended Superseding

Indictment based on firm fixed price jobs. For the reasons set forth in Mr. Liberto’s pretrial motion

to dismiss and supporting memoranda, ECF Nos. 21, 21-1, 35, he seeks a judgment of acquittal on

the charges or a judgment of acquittal for Counts 5-8, 11-12, 14-16, 23, 25, 27-29 and 31-32, which

are based on firm fixed price jobs. As set forth in Defendant’s motion to dismiss, and as supported

by trial testimony regarding the contractual provisions in the EMCOR-Sierra supplier agreements,

there is insufficient evidence to sustain a conviction for all counts for which the proposed,

approved and invoiced amount is over $2,000. ECF Nos. 21, 21-1, 35.3


2
  As set forth in Defendant’s motion to strike, ECF No. 20, and reply in support thereof, ECF No.
33, incorporated herein by reference, Mr. Liberto also contends that there is insufficient evidence
to support the inclusion of EMCOR as a victim, given the testimony and documentary evidence
that it was not deprived of money or property. He therefore asks the Court to strike EMCOR as a
victim of the alleged scheme to defraud or, failing that, to dismiss all counts on the ground that
there is insufficient evidence of a scheme to defraud EMCOR of tangible property. We rely on the
papers submitted in furtherance of our motion to strike, ECF Nos. 20, 33, and the evidence at trial
that the only money at stake was the Postal Service's money.
3
 On August 10, 2020, Defendant filed his motion to dismiss seeking dismissal of Counts 5-8, 11-
12, 14-15, 23, 25, 27-29 and 31, each of which were firm-fixed price jobs for more than $2,000.
See ECF No. 21-1. On April 1, 2021, the government superseded the indictment, adding Count 32,
after Defendant’s motion to dismiss had been filed, and therefore it was not included in

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       Mark Grist, General Manager of EMCOR, testified that EMCOR’s contract provisions, set

forth in its standard form work orders, e.g., DX008, specify that all work orders over $2,000 were

to be treated as firm fixed price jobs. Grist Tr. T6-AM-24:11-19. Mr. Grist also testified that for

firm-fixed price jobs, the contractor agrees to perform the work described for the agreed-upon

price and is entitled to payment in that amount even if the labor hours required to perform the work

are less or more than the proposed number of hours to complete the job. Grist Tr. T5-PM-70:8-24.

       Additionally, Postal Service facilities engineer Steven Young testified that under USPS’

agreement with EMCOR (the terms of which are the basis for EMCOR’s agreement with Sierra),

for firm-fixed priced jobs, Sierra was entitled to payment in the full amount of its approved

proposals, regardless of whether actual costs deviated from the approved proposal. Young Tr. T7-

AM-35:21 – 38:16, 41:2 – 42:6.4 Postal Service Team Lead Patty James also testified that

approved firm-fixed price proposals should be invoiced for the approved amount, and that was the

price that the Postal Service was required to pay. James Tr. T7-PM-24:1-4.

       The testimony also established that under the EMCOR-Sierra supplier agreements and the

parties’ course of dealing, jobs performed on an emergency basis were deemed firm-fixed. Grist

Tr. T6-AM-26:12-25. Emergency jobs are those jobs for which the work order was assigned a P4

or P5 priority level and there was an approved proposal. See Fink Tr. 286:16 – 287:10 (explaining

that EMCOR emailed work order update requests for emergencies included P4 and P5); DX341-

DX346 (EMOCR work order updates treating P4 and P5 as emergency jobs); Fink Tr. 287:11 –

288:6 (explaining that USPS Facilities Engineers assigned a P4 work order as an emergency);




Defendant’s motion. Count 32 was proposed fixed firm for $2,580.00, and was approved and paid
as proposed, and therefore, should also be dismissed.
4
  Mr. Young also confirmed that the Postal Service did not require subcontractor proposals to be
submitted with for firm fixed jobs. Young Tr. T7-AM-48:13 – 49:6.

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DX456. Counts 2-4, 9, 17-18, 21, 26 and 30 are P4 or P5 emergency jobs for which there was an

approved proposal, and therefore, these jobs were treated as firm fixed price under the contract.

See EX02a; EX03a; EX04a; EX09a; EX17a; EX18a; EX19a; EX20a; EX21a; EX26a; EX30a.

         For all counts that arise from firm-fixed jobs because they are emergencies with approved

proposals (Counts 2-4, 9, 17-18, 21, 26 and 30), and for counts that are based on firm fixed jobs

because the work order exceeded $2,000 (Counts 5-8, 11-12, 14-16, 23, 25, 27-29 and 31-32), the

firm-fixed job analysis in Defendant’s motion to dismiss applies and Mr. Liberto should be

acquitted of these Counts.5

      B. THE EVIDENCE IS INSUFFICIENT TO SUSTAIN A CONVICTION ON
         COUNTS THAT ARE BASED ON ALLEGED NON-DISCLOSURE OF SIERRA’S
         USE OF SUBCONTRACTORS BECAUSE THE GOVERNMENT DID NOT
         PROVIDE SUFFICIENT EVIDENCE OF CONCEALMENT OF
         SUBCONTRACTORS.

         There is insufficient evidence to sustain a conviction as to all counts that are based on non-

disclosure of Sierra’s use of subcontractors. Mr. Liberto seeks a judgment of acquittal for all counts

except those that were self-performed or for which a Bob’s Bucket Truck or Cox’s Rental invoice

was used. Counts 2-9, 11-12, 14-18, 23, and 25-32 allege that Sierra “did not disclose the use of a

subcontractor” in carrying out repair work at Postal Service facilities. See Amended Superseding

Indictment pp. 16-24.

         Government witnesses from the Postal Service, Steven Young and Patty James, testified

that they were aware that Sierra used subcontractors on Postal Service jobs. Young T6-PM-72:2-

6 (Mr. Young testified that Sierra had a “very good relationship” with the Postal Service and he

was aware that Sierra used subcontractors.); Young Tr. T7-AM-72:12-20, 78:9-24 (aware that

Sierra used subcontractors for HVAC work, including Ironhorse Mechanical, and EMCOR HVAC



5
    Mr. Liberto excludes counts for which there is a Bob’s Bucket Truck or Cox Rental invoice.

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supplier); DX410 (email communication between Sierra and the Postal Service regarding Sierra’s

subcontractor Ironhorse Mechanical on site at the Postal Service facility); Young Tr. T7-AM-75:6

– 76:25 (aware that Sierra used subcontractor Stanley Door); DX219 (email communication

between Sierra and the Postal Service regarding Stanley Door invoice left at Postal Service facility

that matched the work that Sierra had invoiced for); Young Tr. T7-AM-80:9-17, 81:8-10 (aware

that Sierra used an electrical subcontractor); DX485 (email communication between Sierra and the

Postal Service regarding Sierra’s use of an electrical subcontractor); Young Tr. T7-AM-83:9 –

84:2 (discussing communications between Postal Service facilities, Postal Service project

managers and Sierra, noting Sierra’s use of subcontractors); DX488 (email communication

between Postal Service facility site contact and Postal Service Project Manager Young and Sierra

acknowledging Sierra’s use of a sub).

       Postal Service Team Lead Patty James testified that she knew that Sierra was a general

contractor who “pulls together from its own resources and from outside resources from

subcontractors, depending on the nature of the job, whatever is needed to do the job.” James Tr.

T7-PM-14:10-16. Ms. James testified that she was aware that Sierra used subcontractors for

electrical, plumbing, and HVAC, among other areas, and she did not question Sierra’s use of

subcontractors. James Tr. T7-PM-15:12 – 16:9. Ms. James also testified that subcontractors left

their invoices at Postal Service facilities “all the time” and that it caused confusion because she

had to make sure that the facility did not pay the invoice. James Tr. T7-PM-29:15 – 30:5. Ms.

James testified regarding an example where Sierra’s subcontractor left its invoice at the Postal

Service facility, after which the facility contacted Ms. James, who then contacted EMCOR, who

contacted Sierra, to handle payment with the subcontractor. James Tr. T7-PM-30:6 – 33:1. Sierra




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did not deny using a subcontractor and the Postal Service raised no concerns with Sierra’s use of

a subcontractor even though it did not identify the subcontractor on its invoice. Id.

         For two specific counts, the evidence disproves non-disclosure. For Count 25, the evidence

just six days before Sierra submitted its proposal for Count 25, it informed EMCOR of the status

of the job: “asphalt contractor to visit site week of 4/16.” DX 94.6 The evidence cannot support a

finding of concealment on that count. For Count 3, the government’s basis for Count 3 is Sierra’s

job file for the Work Order No.35277735 (Dulles P&DC), Exhibit 3a, Kevin Fink. Fink Tr. 274:9

– 279:14, 280:9-13. But Kevin Fink identified a three-page email string between Sierra and

subcontractor Overhead Door—not in the original job file or the copy offered by the government,

that “reflects that [the subcontractor] Overhead Door’s work order was signed by the Postal

Service and they may or may not have kept a copy of what they signed before giving it back.”7

EX03a, EX03c; Fink Tr. 276:3 – 280:13; DX460 at 4-7. The role of the subcontractor was well

known to the Postal Service.

      C. THE EVIDENCE IS INSUFFICIENT TO SUSTAIN A CONVICTION ON COUNTS
         FOR WHICH THERE IS NO BASIS FOR THE JURY TO FIND THAT SIERRA
         CHARGED MORE THAN IT WAS ENTITLED TO UNDER THE CONTRACT.

         The Amended Superseding Indictment alleges that Mr. Liberto “fraudulently inflate[d] the

number of hours worked, and the costs of materials used, by both its subcontractors and its own



6
    DX94 will be put into evidence through Agent Baer during trial on Monday, October 20, 2021.
7
  On, June 22, 2021, the government produced EX03a, USA-019259, and represented that it was
a complete copy of the original file seized from Sierra’s office during the execution of a search in
November 2018. Another version of EX03a was used in the Grand Jury as Grand Jury Exhibit
No. 7. DX460 (introduced at Fink Tr. 274:16-20). At trial, Mr. Fink was shown EX03a and DX460
(Grand Jury Exhibit No. 7), and confirmed that both documents are copies of the job file for Work
Order No.35277735 (Dulles P&DC). Fink Tr. 275:21 – 276:2. Mr. Fink also confirmed that copy
of the file used in the grand jury (DX460) contained a three-page email string between Sierra and
Amber Young of Overhead Door, that was not included in trial exhibit EX03a, the file used to
support Count 3. Fink Tr. 276:3 – 280:13; DX460 at 4-7.

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employees on invoices submitted for payment in connection with USPS repair projects assigned

to Sierra by EMCOR.” Indict. at ¶¶ 31(d), 31(g). The Amended Superseding Indictment also

alleges that Mr. Liberto “falsely added trip fees to proposals and invoices in connection with repair

projects assigned to Sierra, and instructed and caused Sierra’s PMs to do the same, where no Sierra

employees actually traveled to the postal facility in connection with the initial assessment or

completion of the assigned repair work.” Indict. at ¶¶ 31(f). See also id. ¶ 30(a) (alleging

concealment of subcontractors “to enable Sierra to substantially increase its revenues from repair

projects” and to enable “Sierra to submit bills for its supposed services at rates that were both far

in excess of the amount the subcontractor or subcontractors were charging it, and also far in excess

of the specified mark-up that would otherwise have been allowed”); ¶ 30(c) (on self-performed

jobs, alleging that Sierra “overcharge[d] for its services by fraudulently inflating the number of

labor hours used to complete the work and by fraudulently marking up the cost of the materials

used in completing its assigned work on these jobs.”). The evidence introduced regarding Counts

8, 12, 14, 23, 24, 29 and 32, construed in the light most favorable to the government, cannot support

a jury finding that Sierra intended to or did overcharge.8

       1. Count 8

       Mr. Wineke, the project manager assigned to this job, Work Order No. 33305631

(Baltimore Nottingham Branch), testified to his belief that two Sierra employees, Randy Smith



8
  The evidence is not sufficient to permit the jury to find that the value of the work of Sierra and
its techs on any job was less than the amount Sierra was paid. Kevin Fink testified that for jobs
before Sierra’s techs started using time tickets and a tracking spreadsheet for assigned work orders
in 2016, there was no way to tell whether a tech worked on a job. He agreed that “you don’t have
enough – the files don’t contain everything that you need in order to determine the nature of the
transaction.” Fink Tr. 227:22 – 228:10. He also agreed that “even after 2016 there might be a job
file that doesn’t have a ticket, a tech time ticket, on which a tech worked,” and that his prior
“testimony about all of these job files then was inaccurate . . . because [he wasn’t] thinking about
the time tickets.” Fink Tr. 228: 15 – 229:2.

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and Shawn Rice, were on site to assist the welding subcontractor, John Blankenship. Mr. Wineke

reviewed photographs of the job, DX022-25; DX027, Sierra’s technician assignment tracking

sheet, DX205, and related email communications, DX033, and testified that the job required

assistance from Sierra’s technicians. Wineke Tr. T8-PM-39:1 – 45:14. He explained that Mr.

Blankenship was a welder who needed assistance from Sierra techs on more substantial jobs on

which he worked, like this one. See Wineke Tr. T8-PM-38:12-16. This evidence stands

uncontradicted.




       2. Count 12

       Evidence was presented that established that Sierra tech Randy Smith worked in

Covington, VA, on the work orders that are the subject of this count. Wineke Tr. T8-PM-47:20 –

54:19; DX040; DX040.1; Mr. Wineke testified that the painting subcontractor, Saul & Sons, was

not capable of doing large drywall patches, such as those required for the interior component of

this job. T8-PM-50:19-25 – T8-PM-54:19. Mr. Wineke testified that a Sierra technician, Randy

Smith, and another Sierra employee, went to the job site in Covington, VA for at least two days—

to take photographs for the initial survey and troubleshooting, and also to do interior drywall

patching and repair. Wineke Tr. T8-PM-47:20 – 54:19; EX12a; DX205.

       3. Count 14

       The evidence established that Sierra technicians Kevin Justice and Shawn Rice first went

to the site to survey the job on October 26th but were not able to speak with point of contact.

Wineke Tr. T8-PM-73:07-22. They made a second return trip to survey the issues so that Mr.

Wineke could evaluate what the job would entail. Id. at T8-PM-74:01 – 75:15; (Sierra technicians



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Kevin Justice and Shawn Rice returned to the site on November 11 to survey the site and take

necessary photographs of the work needed); DX205 at p. 5 (Sierra technician tracking

spreadsheet); DX041-42 (photographs of fencing needing repairs taken on site no later than

November 11).

       4. Count 23

       The evidence establishes that Kevin Justice and Shawn Rice were on site in Warrenton,

VA, in connection with this job involving the restoration of entrance doors and windows in a

historic Postal Service facility. See Wineke Tr. T8-PM-61:17 – 70:2; EX23b (photograph of Sierra

technician, Shawn Rice, on site at the Warrenton, VA facility for survey photograph

documentation); DX091 (email from Sierra to Sierra technician Kevin Justice with work order for

Warrenton, VA facility job). Mr. Wineke testified that Sierra uses its own technicians to the extent

possible, and would have used its technicians for the necessary plaster work before the

subcontractor could perform its component of the job. Wineke Tr. T8-PM-63:14 – 64:4.

       5. Count 24

       The government’s own evidence establishes that Sierra did not use a subcontractor for any

part of this Hampton, VA job, but instead sent its tech, Russell Gittman, to Hampton, VA to

perform the work. The government’s examination of its witnesses suggest that it contends that

Sierra should not have had one of its techs drive four or more hours to replace what turned out to

be a small sign, a task that could have been accomplished more efficiently by hiring a local

contractor. The government’s questions further appeared intended to suggest that Sierra charged

both the Church of Jesus Christ of Ladder Day Saints and the Postal Service for the techs’ travel

to Richmond, VA after completing this job, a contention that it has indicated was not its contention.

The government’s overbilling claim for Count 24 amounts to no more than an allegation of double-



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billing, or performing a job inefficiently by sending its own tech to Hampton rather than hiring a

local subcontractor. Neither is sufficient for the jury to convict on this count. Fink Tr. 223:20.

       6. Count 29

       Kevin Fink and Agent Baer both testified that Sierra employees performed work for Work

Order No. (Washington Lamond Riggs Station). Their testimony and the exhibits, including notes

in job files, email communications, the technician tracking spreadsheet and photographs from

Sierra’s business records, establish that Irvin Delauter traveled to Washington to survey the job,

and that Kevin Justice, possibly with Shawn Rice, separately met the subcontractor in Washington

to remove and then reinstall hardware on a glass door. Fink Tr. 229:3 – 231:17; 232:8 – 234:17;

238:6 – 241:25; 247:3-23; DX104; DX105; DX111; DX112; DX205. Agent Baer acknowledged

evidence of this work and testified that he did not consider any work done by Sierra techs in his

analysis of the job, and that work by Sierra techs should have been included. Baer Tr. T10-PM-

3:3-9, 3:21 – 14:3; EX29a (references to Sierra technician Irvin on front cover), DX111 (survey

conducted by Sierra technician Irvin); DX112 (email communication between Postal Service,

Sierra, JR Willis Glass discussing that Sierra technician Kevin Justice would be installing mag

locks). He conceded that if he had reviewed the documentation of Sierra employees’ work on the

job (DX111 and DX112), he would not have included the two trip charges and the initial labor

charges in fraud calculation. Baer Tr. T10-PM-254:19 – 25:13. There is simply no basis for the

jury to find any overbilling, actual or intended, on this job.

       7. Count 32

       The evidence establishes that when this emergency work order was received on a Sunday,

Mike Wineke contacted Sierra tech Russell Gittman, who traveled from Frederick to Dundalk and

managed to turn off the water supply to a constantly flushing toilet; Mr. Wineke contacted Scott



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Graczkowski of plumbing subcontractor Castaway Plumbing to arrange for him to go to the site

the next day for permanent repairs; and contacted EMCOR or the Postal Service to obtain the

necessary authorization. Castaway performed the work as requested. The government’s carping

about the cost of a Sunday repair an hour from Frederick is no substitute for evidence of

overcharging.

                                         CONCLUSION

       For the foregoing reasons and for the reasons stated in oral argument on Mr. Liberto’s Rule

29 motion, the defense respectfully requests that the Court enter a judgement of acquittal on Counts

2-9, 11-12, 14-18, 21, and 23-32 of the Amended Superseding Indictment.


Dated: October 20, 2021                       /s/ Martin S. Himeles, Jr.
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                              CERTIFICATE OF SERVICE

       I certify that on October 20, 2021, I caused copies of the foregoing Rule 29 Motion for

Acquittal to be served via the CM/ECF system on:



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                                                   /s/ Martin S. Himeles, Jr.
                                                   Martin S. Himeles, Jr.




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